                               Exhibit 1




Case: 19-30088   Doc# 2864-1   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 1
                                       of 30
                                                                                      ELECTRON ICALL
                                                                                          FILED
                                                                                     Superior Court of Califor ia,
                                                                                      County of San Francisco

                                                                                     10/22/2018
                                                                                      Clerk of the Cou
   1 MICHAEL A. KELLY (SB #71460)                      EVAN R. CHESLER (pro hac vi~:1uonH NUNEZ
     mkelly@walkuplawoffice.com                        echesler@cravath.com               Deputy Cl rk

   2 KHALDOUN A. BAGHDAD! (SB #190111)                 TIMOTHY G. CAMERON (pro hac vice)
     kbaghdadi@walkuplawoffice.com                     tcameron@cravath.com
   3 WALKUP, MELODIA, KELLY &                          KEVIN J. ORSINI (pro hac vice)
     SCHOENBERGER                                      korsini@cravath.com
   4 650 California Street, 26th Floor                 OMID H. NASAB (pro hac vice)
     San Francisco, CA 94108                           onasab@cravath.com
   5 Telephone: (415) 981-7210                         DAMARIS HERNANDEZ (pro hac vice)
                                                       dhemandez@cravath.com
   6 ON BEHALF OF DIRECT PLAINTIFFS                    CRAVATH, SWAINE & MOORE LLP
                                                       825 Eighth A venue
                                                       New York, NY 10019
   7                                                   Telephone: (212) 474-1000
   8                                                   ON BEHALF OF DEFENDANTS

   9 CRAIG S. SIMON (SB #78158)                        SCOTT SUMMY (pro hac vice)
     csimon@bergerkahn.com                             ssummy@baronbudd.com
  10 BERGER KAHN, A Law Corporation                    BARON & BUDD, P.C.
     1 Park Plaza, Suite 340                           3102 Oak Lawn Ave 100
  11 Irvine, CA 92614                                  Dallas, TX 75219
     Telephone: (949) 474-1880                         Telephone: (214) 521-3605
  12
       ON BEHALF OF SUBROGATION PLAINTIFFS             ON BEHALF OF PUBLIC ENTITY PLAINTIFFS
  13

  14                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
  15                                  COUNTY OF SAN FRANCISCO

  16   Coordination Proceeding                          JCCP No. 4955
       Special Title (Rule 3.550)
  17                                                    JOINT CASE MANAGEMENT
       CALIFORNIA NORTH BAY FIRE CASES                  CONFERENCE STATEMENT
  18
                                                        Date:     October 25, 2018
  19                                                    Time:     9:00 a.m.
                                                        Dept.:    304
  20
                                                        Assigned for All Purposes to:
  21                                                    Hon. Curtis E.A. Karnow. Dent. 304
  22

  23          After meeting and conferring pursuant to California Rules of Court, Rules 3.724 and 3.727,

  24 Plaintiffs and Defendants Pacific Gas and Electric Company and PG&E Corporation (collectively,

  25   "PG&E") hereby jointly submit this Joint Complex Case Management Conference Statement in

  26   response to questions posed by the Court in Case Management Order Number Three dated

  27   September 24, 2018.

  28

Case: 19-30088      Doc# 2864-1      Filed: 07/03/19    Entered: 07/03/19 18:48:47          Page 2
                                        of 30
                     JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1 I.       TRIAL SETTING

   2          A.       First Fire Case To Be Set For Trial

   3                  1.      Plaintiffs' Position

   4                          (a)     Individual Plaintiffs

   5           Individual Plaintiffs propose that the first case to be set for trial should involve the

   6 fire. Atlas is a tree-line contact case which incorporates law and proof issues common to all

   7 vegetation management fires. Vegetation management issues are typical to the vast majority of the

   8 fires, excluding Tubbs, Sulphur and Cascade. Tubbs is a fire with mixed cause and origin issues,

   9 has substantially more evidence to be reviewed (much of which has not yet been released by Cal

  10 Fire), has as many as 15 to 20 additional potential percipient witnesses, and implicates a broader

  11   range of negligent corporate conduct as it relates to wildfire risk management. A trial of the Atlas

  12 fire case can be prepared far more quickly, will require fewer witnesses on liability, and provide

  13   important answers to questions relating to damage issues independent of cause and origin. The

  14 physical evidence inspections alone for the Tubbs fire are estimated to require more than a dozen

  15 separate examinations by expert consultants for both Plaintiffs and Defendants.

  16          Plaintiffs believe that 60 days after the first fire set for trial, a second trial should be set.

  17 That fire should be the Tubbs fire, assuming all available evidence can be accessed from PG&E,

  18 Cal Fire, and other sources, and further assuming that evidence under PG&E's management and

  19 control is made available in a way that is sensibly organized and easy to access.

  20          To the extent that Tubbs evidence is not made available from Cal Fire, either voluntarily or

  21   in response to a motion to compel, an alternative fire should be set for trial 60 days after the first

  22 trial. At the most recent CMC, Plaintiffs suggested that the second trial should be the Sulphur fire

  23   because it could be most quickly prepared. At the same time, if the court is disinclined to set the

  24 Sulphur fire because it does not affect as many structures or persons and is perceived for that

  25   reason as having less benefit in moving the greater litigation to resolution, then plaintiffs would

  26 suggest the Redwood fire or the Nuns complex fires be set in lieu of Tubbs.

  27
  28

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 2 Entered: 07/03/19 18:48:47                 Page 3
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1                            (b)     Public Entity Plaintiffs

   2             The Public Entity Plaintiffs' ("PEs") damages present issues that are distinct and unique

   3 from those affecting the Individual Plaintiff cases. Accordingly, the PEs respectfully request that

   4 once the Court issues an order governing the sequence oflndividual Plaintiff, fire-specific trials,

   5 the PEs be allowed to meet and confer with PG&E within 45 days of the order and report to the

   6 Court whether those PEs impacted by the respective fire should participate in the trial as an

   7 additional category of plaintiff.

   8                    2.      PG&E's Position

   9            As an initial matter, PG&E and Plaintiffs agree that any trial ought to be a bellwether trial

  10 concerning a single fire with respect to both liability and damages. This first trial will therefore be

  11   persuasive in terms of allowing the parties to have a better sense as to PG&E's potential liability,

  12 but will not be binding as to any other fires or any other Plaintiffs. Accordingly, in identifying

  13 which fire it believes should be tried first, PG&E' s primary focus is on obtaining as much

  14 information through a trial verdict as it can to have the maximum potential impact on the overall

  15 resolution of the many thousands of cases associated with the North Bay Fires.

  16             There is no dispute that the Tubbs Fire, which is the most destructive fire in the State's

  17 history, involves the greatest amount of damage, loss, and harm. As of October 1, 2018,

  18 approximately 65 percent of the Individual Plaintiffs have filed claims relating to the Tubbs Fire,

  19 and the structures destroyed in the Tubbs Fire comprise approximately 63 percent of the total

  20 structures destroyed in all of the North Bay Fires. Because of the significance of the damages

  21   associated with the Tubbs Fire, ordering a bellwether trial concerning that fire will be the most

  22   efficient way for the Court "to expedite the just determination of the coordinated actions without

  23   delay". (Rule of Court 3.541(b).)

  24            Plaintiffs contend that because the Tubbs Fire's alleged cause is not vegetation contact

  25 with a power line and is thus potentially more complex as it relates to causation than some of the

  26   other fires, it should not be tried first. 1 (9/21/18 Tr. at 38:24-39:3 ("Mr. Simon: Tubbs has two

  27
       1
  28       At the last Case Management Conference, at least one Plaintiffs' counsel suggested that a claim


Case: 19-30088        Doc# 2864-1        Filed: 07/03/19 3 Entered: 07/03/19 18:48:47            Page 4
                                           of 30
                        JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1 electric lines. You've got a line that is owned and operated by PG&E, you have a homeowner that

   2 there's some electricity that the homeowner uses for their own pumps, and you're going to have

   3 issues about location, evidence, where.").) Plaintiffs are absolutely right that the available

   4 evidence points away from vegetation contacting PG&E's power lines and towards private

   5 electrical facilities that were replaced by unlicensed third parties without permit or inspection as

   6 the cause of the Tubbs Fire. In that respect, any allegation of PG&E's liability will be far less

   7 direct than in a fire that involves vegetation allegedly contacting a power line. But that is precisely

   8 why a case concerning the Tubbs Fire needs to be tried first. If the Tubbs Fire was a sma11 fire that

   9 represented an insignificant portion of the overall damages, PG&E may agree with Plaintiffs that

  10 another fire should be tried first. But because the Tubbs Fire may comprise at least two-thirds of

  11   the ultimate potential liability, it is difficult for PG&E to contemplate resolution of the coordinated

  12 proceeding without having further insight into how a jury may view the unique set of facts

  13   concerning PG&E's liability for the Tubbs Fire.2

  14          Moreover, Plaintiffs are incorrect that simply because the Atlas Fire involves alleged

  15 vegetation contact, it will present "law and proof issues common to all vegetation fires". Each

  16 alleged vegetation contact case is different and will involve a distinct set of factual issues.

  17 Plaintiffs' suggestion that there will be broad issues regarding PG&E's corporate policy with

  18 respect to vegetation management that apply to all fires is not true. Whether, and to what extent, a

  19
  20 concerning the Atlas Fire should be tried first because there is no dispute as to causation. That is
     false. PG&E disputes liability with respect to the Atlas Fire as well as Plaintiffs' allegation that the
  21 Atlas Fire was caused by vegetation contacting a PG&E power line.
       2
  22     PG&E also disagrees with Plaintiffs' assertion that an Atlas Fire trial will be far less complicated
       and streamlined. As set forth below, PG&E believes a Tubbs Fire trial could be completed in no
  23   more than six weeks whereas Plaintiffs are estimating as many as eight weeks for an Atlas Fire
       trial. Plaintiffs' contention that the Tubbs Fire "has as many as 15 to 20 additional potential
  24   percipient witnesses, and implicates a broader range of negligent corporate conduct as it relates to
       wildfire risk management" is conclusory and belied by their extensive witness list discussed
  25
       below, many of whom (i.e., all the vegetation management witnesses and experts) would not be
  26   necessary for a Tubbs Fire trial. (See infra, Section I.E. I.) By contrast, and as discussed further
       below, experts on cause and origin, weather, LiDAR, de-energization, risk management and
  27   damages would be necessary in both trials.

  28

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 4 Entered: 07/03/19 18:48:47            Page 5
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1 particular vegetation management policy applies will depend entirely on the facts of each

   2 particular fire including, for example, the type of tree allegedly at issue, whether the alleged

   3 contact occurred as result of a tree falling or a branch dislodging, the distance of the alleged tree at

   4 issue from the PG&E lines, the surrounding vegetation separating the alleged tree at issue and the

   5   PG&E lines and the history of inspection and maintenance of that and other tree in the alleged

   6   incident area in the months and years preceding the extreme weather events of October 2017.

   7          To the extent Plaintiffs are suggesting that allegations of systemic vegetation management

   8 issues will overlap across vegetation management trials, that is also untrue. As the Court of

   9 Appeal has already found in the Butte Fire litigation, evidence concerning PG&E's alleged

  10 vegetation system maintenance and inspection issues can only be relevant in a particular case if

  11   that evidence and the alleged programmatic issues can be tied specifically to the tree at issue. (See

  12 PG&E v. Superior Court, C085308 (Cal. Ct. Appeal, Third District, July 2, 2018) (evidence that

  13   PG&E's audit program was allegedly unreliable was not relevant as plaintiffs did not show

  14 PG&E's audit methodology contributed to the Butte fire, and evidence that PG&E's decision to

  15   extend its routine patrol schedule not relevant as PG&E had returned to annual patrol by time of

  16 Butte fire).) Even if it were true that Atlas and another fire were caused by vegetation contact to

  17 PG&E power lines (a disputed factual issue), that would still say very little about how each of

  18 those cases actually would be resolved given the many differences between all of the facts

  19 concerning particular alleged ignition points. The reality is that the results of any single trial about

  20 a particular fire will provide limited intelligence about how trials related to other fires that often

  21   occurred hundreds of miles apart and involve very different facts will be resolved. That is

  22 precisely why PG&E believes it is critical to gain some intelligence through the first trial about

  23   how the single largest fire   representing most of the potential liability    will be resolved so that

  24 the parties can have some insight into how other subsequent trials concerning that fire could be

  25   resolved.

  26          Further, at this point, the Tubbs Fire, just like the Atlas Fire, is still subject to investigation

  27 by the relevant District Attorneys' offices (indeed, at least one District Attorney's office is looking

  28   at both, i.e., the Napa District Attorney, as the Tubbs Fire ignited in Napa County and then spread

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 5 Entered: 07/03/19 18:48:47               Page 6
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1 to Sonoma County). As PG&E has disclosed, it has entered into an agreement with the Sonoma

   2 and Napa County District Attorneys to waive any applicable statutes of limitations related to the

   3 North Bay Fires for a period of six months, until April 8, 2019. As discussed in Section VIII,

   4 infra, the parties are discussing with those District Attorneys a mechanism to enable access to all

   5 of the relevant evidence for all parties in the litigation. There is therefore no reason to believe that

   6 there will be an ability to access, for example, Atlas Fire evidence but not Tubbs Fire evidence.

   7 And, to the extent the parties are precluded from accessing the evidence, this Court has the

   8 authority to compel inspection if it determines, after applying a balancing test, that access to the

   9 evidence is within the public's interest. Access to the physical evidence concerning the Tubbs Fire

  10 should therefore not delay the parties' ability to try a Tubbs Fire case.

  11          Finally, with respect to the Public Entity Plaintiffs, PG&E proposes that if the first trial is

  12 one for which there is a corresponding Public Entity Plaintiff (e.g., for a Tubbs Fire trial, Sonoma

  13   County, Napa County or the City of Santa Rosa), a representative Public Entity Plaintiff should

  14 participate. PG&E does not believe any further meet and confer, as proposed by the Public Entity

  15 Plaintiffs, is necessary.

  16                  3.      Plaintiffs' Response

  17          Though there is no dispute that Tubbs is the most destructive fire - there can be no serious

  18 dispute that the parties know the least about it. The ultimate origin and cause determination on

  19 Tubbs requires substantial additional discovery, which is now in the hands of Cal Fire and PG&E.

  20 Indeed, plaintiffs learned for the first time (during a deposition) that PG&E employees were on the

  21   scene of the Zink property (where they observed all of the purportedly unpermitted electrical

  22 work) several months before the fire.3

  23
       3
  24     PG&E Response: This statement is false. There has been no testimony that any PG&E employee
       observed the unpermitted electrical work; indeed, the individual who did the unpermitted electrical
  25   work has testified that he did not tell PG&E anything about what he had done and to his
       knowledge PG&E had no idea what work he did. Plaintiffs may be referring to a picture that was
  26   used during the Andrews deposition that was taken by a PG&E employee of the property at 1128
       Bennett Lane. That picture was taken in 2013, not "months before the fire". That was 4 years
  27
       before the pole that may have caused the fire was replaced without a permit by an unlicensed
  28   electrician.


Case: 19-30088      Doc# 2864-1       Filed: 07/03/19 6 Entered: 07/03/19 18:48:47              Page 7
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1           Moreover, there is no evidence discovered at this stage that the private lines on the Zink

   2   property caused the Tubbs fire. If PG&E has any such evidence, none has been produced in
      .         4
   3 d1scovery.

   4           The volume of evidence required for examination in Tubbs is larger than any other fire.

   5   Plaintiffs wi11 likely require inspection of several distribution lines in the vicinity of the Zink

   6 property for further examination. Plaintiffs also recently discovered (from the deposition of a

   7   Calistoga Fire Fighter and deposition of an eye witness local resident) that PG&E was on scene,

   8 by the Zink property, performing electrical work within hours after the Tubbs fire started, despite

   9 PG&E not identifying any employees on scene at that time to the CPUC or in written discovery

  10 responses to Plaintiffs. 5 Furthennore, the Zink property is only one suspected origin point of the

  11   Tubbs Fire. At this time, there exists the very real possibility that there are several origin points of

  12 the Tubbs Fire, and therefore, several cause and origin analyses that will need to be performed.

  13           Additional physical Tubbs fire evidence remains in the hands of Cal Fire, which cannot be

  14   disclosed without the added procedural hurdles caused by the tolling agreement, which neither the

  15   Court nor Plaintiffs were made aware of until after the last CMC.

  16           At this stage, categorizing Tubbs as a vegetation, non-vegetation, or any other category of

  17   fire is premature. It may be more than one. The piecemeal discovery completed thus far, without

  18 the access to physical evidence, does not provide a sufficiently detailed picture to set this case at

  19 the first trial.

  20
  21

  22
       4
  23     PG&E Response: This is also false. Among other evidence, PG&E has co11ected the customer
       owned pole that may have started the Tubbs fire and Plaintiffs have been given the opportunity to
  24   inspect this evidence.
       5
  25  PG&E Response: PG&E has no record of any PG&E personnel being on location. The Calistoga
     Fire Fighter testified only that he "is sure he saw some [PG&E personnel] or passed by some at
  26 some point, but I can't recall where or when". PG&E believes that the resident who testified that
     he saw PG&E personnel in the area was likely misremembering the events given the absence of
  27
     any records that PG&E personnel were on scene the night of the Tubbs Fire and the fact that the
  28 witness made other statements about his recollection of events that are demonstrably incorrect.


Case: 19-30088          Doc# 2864-1    Filed: 07/03/19 7 Entered: 07/03/19 18:48:47               Page 8
                                            of 30
                         JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
   1          B.      Number of Plaintiffs

   2                  1.      Plaintiffs' Position

   3          The number of plaintiffs will be dependent upon the types of claims presented in the first

   4   trial. In this respect, Plaintiffs propose that the Court try a group of claims representing the

   5   majority of types of claims that will be presented by average or typical plaintiffs in the litigation as

   6   a whole. With that in mind, Plaintiffs propose nine separate categories of claimants, each of whom

   7   holds one or more of the following types of claims. The aim here is to best provide information

   8   about claim value in the claim types most commonly seen in all of the fires as follows:

   9          1.      Wrongful death
              2.      Personal injury
  10           3.     Total loss of home on property larger than 5 acres
              4.      Total loss of home on property smaller than 5 acres
  11           5.     Partial loss/non-total damage to home
              6.      Commercial loss to non-winery
  12          7.      Commercial loss to winery/vineyard
              8.      Loss/displacement ofrenter/tenant with destruction of personal property
  13          9.      Damage/destruction to raw land without loss of home

  14          An additional issue common in all of the fires cases is the right to claim emotional distress

  15   for plaintiffs who are within the "zone of danger" and who required evacuation. These are not set

  16   forth as a specific category. It is assumed that one or more of the plaintiffs who are selected as

  17   representatives holding one of the above 9 types of claims will also present an emotional distress

  18   claim. A plaintiff in categories two, three, four, five, and eight may well present such a claim. The

  19   same is true as regards subrogation.

  20          A plaintiff in categories three, four, five, six, and seven is presumed to have a carrier with

  21   a subrogation claim that will be tried with the individual plaintiff claims.

  22                  2.      PG&E's Position

  23          PG&E largely agrees with Plaintiffs' position. However, PG&E disagrees that the first trial

  24   should include Plaintiffs from categories 6 and 7, commercial loss to non-winery and commercial

  25   loss to winery/vineyard, respectively. Given the potential complexities associated with commercial

  26   damages, such as business interruption loss, PG&E believes that these categories should be dealt

  27   with in a subsequent trial.

  28          Moreover, PG&E proposes adding an Individual Plaintiff from an additional category:

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 8 Entered: 07/03/19 18:48:47              Page 9
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 annoyance damages (e.g., smoke and soot, erosion), but no real property loss.

    2                   3.       Plaintiff's Response

    3           Plaintiffs object to forcing a winery or business owner to wait for a subsequent trial. These

    4   types of damages are not too complex to be included in a first trial.

    5           C.      Total Number of Plaintiffs

    6           The number of individual plaintiffs wi11 likely be somewhere between 15 and 20

    7   depending upon such factors as the number of wrongful death heirs, any potential loss of

    8   consortium case for any injury claim, whether real property or homeownership or tenancy is held

    9   in more than one name, whether commercial business owners are single or multiple individuals or

   10 businesses, etc.

   11           D.      Key Characteristics Of Each Plaintiff And Selection Process As Trial
                        Plaintiffs.
   12
                        1.       Plaintiffs' Position
   13

   14           Beyond having sustained their loss within the geographical limits of the specific fire (in

   15   this case, Atlas) each of the plaintiffs will represent the holder of a type of damage claim that

   16   arises from one of the nine plaintiff categories. Selection of individual plaintiffs holding a relevant

   17   cause of action is suggested to be made on a collaborative basis with plaintiffs' counsel providing

   18   defendant with a list of three or four suitable persons in each category who are fit to serve as a

   19 representative trial plaintiff, with supporting damage data and verification to validate their

   20   selection. Plaintiffs and defendant can co11aboratively select two or three persons in each category

   21   to make certain that as the trial date approaches, should any individual claim be settled another

   22   suitable plaintiff holding the same type of right or claim can be slotted into the vacated category.

   23   In this way suitable backup plaintiffs will be available, and when the matter proceeds to trial, there

   24 will be plaintiffs to fill each of the categories. As far as timing and selection, the process for

   25   plaintiff designation and selection can begin 30 days after the court determines which of the fires

   26   will be the first to proceed to trial.

   27           Individual Plaintiffs propose that cases representative of the nine categories of damages set

   28   forth above be tried in a unitary trial as bellwether cases. Initially, Plaintiffs would submit to

Case: 19-30088       Doc# 2864-1         Filed: 07/03/19 9 Entered: 07/03/19 18:48:47            Page 10
                                           of 30
                        JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 Defendants the names of not more than 5 cases which they believe are representative of each of

    2   the nine types of damage embraced within each of the categories identified. Plaintiffs' submission

    3   would include a brief description of the damages asserted within each category and the basis on

    4 which they assert that the case is representative. Defendants would have two weeks to review the

    5   submission and respond by indicating their acceptance or rejection and explain why a case is not

    6   acceptable. Plaintiffs similarly would have one week to review Defendants' response and either

    7 provide alternative plaintiff(s) or submit additional reasons to justify inclusion of an existing

    8 plaintiff. In the event the parties cannot reach an agreement at the conclusion of the two-week

    9 process, the parties would then submit their respective lists of bellwether cases to which they

   10 could not agree to the court. The court will make the final decision on which cases are selected for

   11   conducting damages discovery and trial. The goal is to select a sufficient number of cases for trial

   12   so that multiple clients' cases (3-4) are trial ready within each category. Should the first case in the

   13   category resolved by settlement prior to the date of trial, a second backup case would be ready to

   14 take its place. Should the first and second cases resolve by settlement, a third case would be trial

   15 ready.

   16                  2.      PG&E's Position

   17          PG&E agrees with Plaintiffs' proposal, except that PG&E believes it should also be

   18 permitted to propose a limited number of Plaintiffs (no more than three in each category) during

   19 the meet and confer process if it so chooses.

   20          E.      Estimated Number Of Witnesses

   21                  1.      Plaintiffs' Position

   22          The estimated number of witnesses will be influenced by any pretrial stipulations on the

   23   part of the defendant regarding both damage and issues, including of cause and origin, or other

   24   agreed-upon facts.

   25          Such stipulations have not as yet been discussed. Therefore, the following chart

   26   contemplates a trial of the Atlas fire wherein all of the evidence is required to be produced absent

   27   stipulated agreement, and the legal theories of liability which have been pleaded are fully litigated,

   28   including inverse condemnation, negligence, trespass, nuisance, damages under PUC § 2106, and

Case: 19-30088       Doc# 2864-1       Filed: 07/03/19 10Entered: 07/03/19 18:48:47              Page 11
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 conduct warranting punitive damages pursuant to Civil Code section 3294. Further, this witness

    2 graph assumes that all damage theories including economic and noneconomic damages for
    3   personal injury, wrongful death and emotional distress; economic damages for loss of real

    4 property and personal property; economic damages for loss of use and/or loss of enjoyment of real

    5   property; and economic damages for loss to business operations, vineyard operations, and punitive

    6   damages are proved by the testimony of witnesses or the introduction of documentary evidence, in

    7 the absence of agreement, stipulation, judicial notice or other method of proof.

    8                               PLAINTIFFS' DRAFT TRIAL ESTIMATE

    9                                      BASIC FACTS        CAUSATION

   10                                     WITNESS                                      TIME ESTIMATE 6

   11
        •         Cal Fire Investigating Officer(s) to Describe Physical Evidence           1 Hour Each
                  Supporting Tree-Line Contact (2-3 Witnesses).                            2.5-3.0 Hours
   12   •         Cal Fire Experts to Describe Physical Evidence of Tree                    1 Hour Each
                  Condition and Opinion of Cause of Tree-Line Contact (2-3                 2.5-3.0 Hours
   13             Experts from Cal Fire).

   14
        •         Eyewitness Testimony, If Any, Supporting Origin of Fire .                30-45 Minutes
                                                                                       5.50-6. 75 Total Hours
   15
                                                 PG&E w• 11,
   16
                       SUBJECT: Training & Qualifications of Third Party Tree Inspectors
   17
                                              (Contract Utility Foresters)
   18                                     WITNESS                                       TIME ESTIMATE

   19   •         PG&E PMK Regarding Hazard Tree Rating System Used to                       1.5 Hours
                  Identify Potential Risk of Tree Contacting Electrical Line.
   20   •         Supervising Vegetation Program Manager: To Establish Wither               I Hour Each
                  Performance Criteria for Tree inspection s Within the District and          3 Hours
   21             Region Where Fire Originated Were Satisfied (Possibly 3
                  Witnesses)
   22
        •         PG&E Vegetation Inspection Contract Manager(s) to Establish              1.5 -2 Hours
   23             Whether Qualification of Tree Inspectors Were Satisfied.

   24
        •         PG&E Quality Control Project Manager(s) to Establish                     3.0 -3.5 Hours
                  Knowledge of Deficiencies in Tree Inspections by Third Party
                  Contractors.
   25

   26

   27
        6
   28       All time estimates include direct and cross.


Case: 19-30088         Doc# 2864-1       Filed: 07/03/19 1 IEntered: 07/03/19 18:48:47         Page 12
                                            of 30
                         JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1                                     PG&E WITNESSES
    2            Subject: Failure of PG&E Managing Agents to Manage Wildfire Risk
                                   WITNESS                                     TIME ESTIMATE
    3
        •   PG&E Director Risk Management For Compliance of Vegetation           3.0-3.5 Hours
    4       Management Standards to Establish Whether Tree Clearance
            From Electrical Lines Met Requirements.
    5   •   PG&E Director Risk Management to Establish Process for               3.0-3.5 Hours
            Identification & Removal of Hazard Trees.
    6
        •   PG&E Operations Manager Vegetation Management to Establish           3.0-3.5 Hours
    7       Historical Process for Evaluating Effectiveness of Measure to
            Manage Risk of Wildfire.
    8
        •   PG&E Program Manager(s) Vegetation Management to Establish           3.0-3.5 Hours
            Continued Failures for Managing Wildfire Risk.
    9       Years 2000-2017. (3 or More Witnesses to Cover Years
            Indicated)
   10
        •   PG&E Program Managers For Public Safety & Reliability                2.0-2.5 Hours
   11       ("PS&R").

   12   •   PG&E Manager for Governance & Support re: Budgets for                2.0-2.5 Hours
            Vegetation Management Historically and Through the Date of
            This Incident.
   13
        •   PG&E Senior Compliance Specialist re: (l) Quality Assurance          3.0-3.5 Hours
   14       Audits; (2) Vegetation Management Incentive Program; (3)
            CPUC Fines & Penalties.
   15
        •   PG&E Senior Manager, Vegetation Management of Operations             3.0-3.5 Hours
            re: Process for Assessment of Wildfire Risk.
   16
        •   PG&E Quality Assurance Specialist to Identify Processes &            3.0-3.5 Hours
   17       Procedure for Evaluating Effectiveness oflnspections of Trees to
            Meet Compliance Standards & Identify Hazard Trees.
   18
        •   PG&E PMK re: Process and Use of LiDAR Data for Inspections           2.0-2.5 Hours
   19       of Trees in the Area of Fire origin and Reports Related Thereto.
                                                                               31-36 Total Hours
   20
                  SUBJECT: Corporate Disregard for Management of Wildfire Risk
   21                              WITNESS                                     TIME ESTIMATE
   22   •   Director(s) of Risk Management & Compliance, Vegetation              3.0-3.5 Hours
            Management to Evaluate Effectiveness of Mitigation Measures
   23       PG&E Relied Upon to Manage Wildfire Risk.

   24   •   Vice President Electric Strategy and Asset Management to             3.0-3.5 Hours
            Establish Whether Policies & Processes to Control Risk of
            Wildfire Were Audited or Evaluated.
   25
        •   PG&E Vice President Electric Distribution to Address                 3.0-3.5 Hours
   26       Effectiveness of Risk Management Process.

   27   •   CEO PG&E re: Policy for Management of Wildfire Risk.                   2.5 Hours

   28                SUBJECT: Failure to De-Energize or De-Activate Reclosers

Case: 19-30088   Doc# 2864-1      Filed: 07/03/19 12Entered: 07/03/19 18:48:47       Page 13
                                      of 30
                   JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1                                       PG&E WITNESSES

    2                               WITNESS                                       TIME ESTIMATE

    3
        •   PG&E PMK re: Role & Responsibility of Emergency Operations               3.0-3.5 Hours
            Center Activated On or Before October 5, 2017 to Monitor
            Events Leading Up To October 8, 2017 Fire.
    4
        •   PG&E PMK re: Policy, Practice & Procedure for Monitoring                 2.5-3.0 Hours
    5       Weather Conditions in Advance of This Incident.

    6
        •   PG&E PMK re: Policy, Practice & Procedure for De-Activating              2.5-3.0 Hours
            Reclosers.
    7   •   PG&E PMK re: Failure to De-Activate Reclosers in Advance of              2.5-3.0 Hours
            October 8, 2017 Events.
    8
        •   PG&E PMK re: Failure to De-Energize Lines in Advance of                  3.0-3.5 Hours
            October 8, 2017 Events.
    9
        •   PG&E PMK re: Policy, Practice Or Procedures For De-                      3.0-3.5 Hours
   10       Energizing Lines, Historical Background Regarding Any
            Evaluation of This Risk Prevention Measures Prior to This
   11       Incident.
                                                                                  33-38.5 Total Hours
   12

   13                                    3J.U1 PARTY WITNESSES
                                    WITNESS                                       TIME ESTIMATE
   14
        •   Supervisor for Tree Inspection Company in Region of Fire Origin          3.0 -3.5 Hours
   15       to Establish Failure to Satisfy Performance Criteria.

   16   •   Certified Urban Foresters Assigned to Inspect Area of Suspected          2.5-3.0 Hours
            Fire Origin to Identify Hazard Trees Posing a Threat to
   17       Distribution Line.

   18
        •   Tree Trimmers Assigned to Trim Trees in Area of Suspected                3.5-4.0 Hours
            Origin of Fire (2-3 Witnesses).

   19   •   Tree Inspectors Assigned to Conduct CEMA Foot Patrols                    3.0-3.5 Hours
            (Independent Inspections to Identify Tree Hazards [There are
   20       Multiple Individuals Involved in Patrol] {Up to 3} ).
                                                                                  12-14 Total Hours
   21

   22                                            EA.rI'..K J. -'

                                    WITNESS                                       TIME ESTIMATE
   23
        •   Plaintiffs' Expert re: Arboriculture and Tree Risk Analysis .              3.0 Hours
   24
        •   Plaintiffs' Expert re: Electrical Accident Investigation, Contact &        3.0 Hours
            Causation.
   25
        •   Plaintiffs' Expert re: Fire Cause and Origin .                             3.0 Hours
   26
        •   Plaintiffs' Expert re: Quality Assurance Sampling and Audit                3.0 Hours
            Process.
   27

   28
        •   Plaintiffs' Expert re: Risk Management Standards for Wildfire              3.0 Hours
            Prevention and Mitigation Measures.

Case: 19-30088   Doc# 2864-1       Filed: 07/03/19 13Entered: 07/03/19 18:48:47          Page 14
                                      of 30
                   JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1   •      Plaintiffs' Expert re: Identification of Hazard Trees Through Use             3.0 Hours
               of LiDAR Data.
    2
                                                                                         18 Total Hours
    3
                                                    n A 1\11 A £'11""'
    4
                                               .FACT WITNESSES
    5                                  WITNESS                                        TIME ESTIMATE
    6   •      Plaintiff( s)
               - Describe Extent of Economic & Non-Economic Losses
                                                                                               3.0-3.5

    7
        •      Fact Witnesses to Corroborate Plaintiffs' Damages (2-3)                 30-45 Minutes Each
                                                                                          1.5-2.0 Hours
    8                                                EXPERTS
    9                                  WITNESS                                        TIME ESTIMATE

   10   •      Plaintiffs' Expert re: Fair Market Value of Property Pre- & Post-             2.0 Hours
               Incident.
   11 •        Plaintiffs' Expert re: Cost to Rebuild Structure(s) .                         2.0 Hours

   12 •        Plaintiffs' Expert re: Cost of Erosion Control Measures, If Any.           1.5-2.0 Hours

   13
      •        Plaintiffs' Expert re: Loss of Personal Property, if Necessary (No         1.5-2.0 Hours
               Stipulations).

   14   •      Plaintiffs' Expert re: Cost to Restore Lost Vegetation & Amenity           1.5-2.0 Hours
               Trees.
   15   •      Plaintiffs' Expert re: Losses to Vineyards or Loss of Profits to           1.5-2.0 Hours
               Business Owners.
   16
        •      Plaintiffs' Expert Economist Wrongful Death, Cost of Future                1.5-2.0 Hours
   17          Medical or Mental Health Care, and/or Loss of Earning Capacity.

   18
        •      Plaintiffs' Medical or Mental Health Care Expert Depending on              1.5-2.0 Hours
               Claims of Injury or Severe Emotional Distress Claims.
   19                                                                                   17.5    21.5 Total
                                                                                               --
                                                                                               11nnrs
   20       Assuming PG&E Has Same Number of Experts with similar time                  17.5 - 21.5 Total
            estimates                                                                         Hours
   21                       GRAND TOTAL OF HOURS FOR PLAINTIFFS:                     134.5     156.25 Hours7
   22
                       2.     PG&E's Position
   23
               There are approximately 29 vegetation management-related witnesses that Plaintiffs
   24
        identify above who would not be necessary for a Tubbs Fire trial. These witnesses alone comprise
   25
        approximately 69 hours (more than half) of Plaintiffs' proposed trial time. PG&E also disagrees
   26

   27   7
         Using 4 hours per day trial estimate is 33.63     39 days OR 8-12 weeks including voir dire,
   28   opening statement, and closing argument.


Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 14Entered: 07/03/19 18:48:47            Page 15
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 with many of the estimates provided by Plaintiffs above. For example, PG&E disagrees with

    2 Plaintiffs concerning the apparent scope of any Cal Fire testimony. PG&E also believes that at
    3   least 3-6 eyewitnesses to the fire would need to testify along with at least 3-4 emergency first

    4 responders (which, as noted below, is the same expectation PG&E has with respect to Tubbs).

    5   PG&E also disagrees that many of the categories of testimony concerning PG&E systems will be

    6   admissible at an Atlas Fire Trial.

    7                          PG&E'S DRAFT TRIAL ESTIMATE FOR TUBBS FIRE

    8                                               BASIC FACTS

    9                                     WITNESS                                       TIME ESTIMATE 8

   10
        •         Caretaker of 1128 Bennett Lane (Alleged Tubbs Origin Point)                4 Hours

        •         Third Party Witnesses Who Performed Electrical Work at 1128             4-6 Hours Total
   11             Bennett Lane (Alleged Tubbs Origin Point) for the Property
                  Owner (2-3 Witnesses)
   12
        •         Owners of 1128 Bennett Lane (Alleged Tubbs Origin Point) (2-3          3-4.5 Hours Total
                  witnesses)
   13
        •         Eyewitness Testimony Supporting Origin/ Spread of Fire (3-6             3-6 Hours Total
   14             Witnesses)

   15   •         Emergency First Responders to the Tubbs Fire (3-4 Witnesses)            3-4 Hours Total

        •         PG&E Employee Who Photographed at 1128 Bennett Lane                         1 Hour
   16             (Alleged Tubbs Origin Point) Prior to Fire

   17   •         PG&E Troubleman Who Responded to Area of 1128 Bennett                       1 Hour
                  Lane (A11eged Tubbs Origin Point)
   18 •           Individual Plaintiffs ( selection from approximately 15 plaintiffs)      5 Hours Total

   19 •           Public Entity Witnesses regarding fire response and recovery            2-3 Hours Total
                  (2-3 witnesses)
   20
                                                                                        26-34.5 Total Hours
   21

   22
                                                 PG&E w• 11,           -
                                    Subject: PG&E's Management of Wildfire Risk
   23                                     WITNESS                                       TIME ESTIMATE
   24   •         PG&E Employee With Oversight of Its Electric Operations                     5 Hours
                  Patrols and Inspections
   25
        •         PG&E Employee Concerning De-Energization & Recloser                         7 Hours
                  Protocols
   26
        •         PG-\'rFT'.   '     W1th n          oflt-, ....,.,    R                      6 Hours
   27
        8
   28       All time estimates include direct and cross.


Case: 19-30088         Doc# 2864-1       Filed: 07/03/19 15Entered: 07/03/19 18:48:47          Page 16
                                             of 30
                          JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1                                               PG&E WITNESSES
    2          Protocols
                                                                                       19 Total Hours
    3

    4                                                    EXPERTS
                                       WITNESS                                        TIME ESTIMATE
    5
        •      PG&E Expert re: Electrical Engineering to testify regarding the            3 Hours
    6          electrical facilities (PG&E and private) at and around 1128
               Bennett Lane and whether such facilities contributed to the Tubbs
    7          Fire's ignition

    8   •      PG&E Expert re: Fire Cause and Origin to testify where the                 3 Hours
               Tubbs Fire started and how
    9   •      PG&E Expert re: Metallurgy to testify regarding what the                   2 Hours
               physical elements of metal demonstrates about electrical events
   10
        •      PG&E Expert re: Fire Modeling to testify regarding how the                 2 Hours
   11          Tubbs Fire spread

   12
        •      PG&E Expert re: Wind and Weather at Fire Location to testify                2Hour
               regarding the wind speeds and weather at and around 1128
               Bennett Lane on October 8, 2017
   13
        •      PG&E Expert re: Climate Change to testify regarding the effects            3 Hours
   14          of climate change on Northern California, particularly as it relates
               to increased wildfire risk
   15   •      PG&E Expert re: Electrical Systems to testify regarding various            3 Hours
               programs used by utility companies, such as reclosers and de-
   16          energization protocols
   17   •      PG&E Expert re: LiDAR / Video Expert to testify regarding                 1.5 Hours
               analysis of video footage of the Tubbs Fire
   18                                                                                 19.5 Total Hours
   19       Assuming Plaintiffs Have Same Number of Experts with similar time         19.5 Total Hours
            estimates
   20
                                                         DAMAGES
   21
                                                         EXPERTS
   22                                  WITNESS                                        TIME ESTIMATE
   23   •      PG&E Expert re: Fair Market Value of Property Pre- & Post-                2.0 Hours
               Incident
   24
      •        PG&E Expert re: Cost to Rebuild Structure(s)                              2.0 Hours
   25 •        PG&E Expert re: Cost of Erosion Control Measures, If Any                 1.5-2.0 Hours

   26 •        PG&E Expert re: Loss of Personal Property, if Necessary                  1.5-2.0 Hours

   27
      •        PG&E Expert re: Cost to Restore Lost Vegetation & Amenity                1.5-2.0 Hours
               Trees
        •      PGA'rF TIA     D                      "   DPMh t'os:t of F11t11rP        1.5-2.0 Hours
                                         TTT
                                          vv   ..
   28

Case: 19-30088      Doc# 2864-1       Filed: 07/03/19 16Entered: 07/03/19 18:48:47         Page 17
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1           Medical or Mental Health Care, and/or Loss of Earning Capacity.
    2 •         PG&E Medical or Mental Health Care Expert Depending on                         1.5-2.0 Hours
                Claims of Injury or Severe Emotional Distress Claims.
    3                                                                                      11.5-14 Total Hours
    4       Assuming Plaintiffs Have Same Number of Experts with similar time              11.5-14 Total Hours
            estimates
    5                                                  GRAND TOTAL OF Hours:                  107-120 Hours 9
    6

    7           F.      Estimated Number Of Days For Trial Accounting For Cross-Examination

    8                   1.      Plaintiffs' Position

    9           Plaintiffs estimate that the trial of the cases described herein will take 6 to 8 weeks,

   1o including voir dire, opening statement, final argument and jury deliberation, assuming that all

   11   issues relating to liability and damages are fully tried without any stipulation as to cause and

   12   origin or fault or nature and extent of damages.

   13                   2.      PG&E's Position

   14           PG&E anticipates that a Tubbs Fire trial would last approximately five to seven weeks,

   15   including voir dire, opening statement, closing argument and jury deliberation.

   16           G.      Proposed Trial Date And Discovery Cut-Off For Trial Cases

   17                   1.      Plaintiffs' Position

   18           Assuming the ESI production is largely completed by the third week of December,

   19   Plaintiffs believe that an appropriate trial date for the first trial of these cases is August 19, 201 9.

   20           Plaintiffs propose that factual discovery be closed for the August 19, 2019 trial 90 days

   21   prior to the trial date. Plaintiffs additionally propose that expert disclosure take place 80 days,

   22   rather than the statutory 50 days prior to trial, and that supplemental experts be disclosed 60, rather

   23   than 30 days before trial, with expert discovery concluding 25 days prior to trial.

   24                   2.      PG&E's Position

   25           PG&E is continuing to assess the progress of its back-up tape restoration. Those back-ups

   26
        9
         Using 4 hours per day, PG&E's trial estimate is 26.75-30 trial days or approximately 4-6 weeks
   27
        for trial witness time. PG&E also estimates 1 additional week would be necessary for voir dire,
   28   opening statement and closing argument.


Case: 19-30088       Doc# 2864-1        Filed: 07/03/19 17Entered: 07/03/19 18:48:47               Page 18
                                           of 30
                        JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 comprise approximately 1.3 Petabytes of data (over 1,000,000 gigabytes, which is approximately

    2 one-half of the data in all United States academic research libraries combined). PG&E is

    3 employing a vendor called Index Engines to assist in this restoration, using their proprietary

    4 software to index the contents of the back-up tapes and restore the snapshots of mailboxes for the

    5   121 agreed custodians that were taken by the company approximately twice yearly going back to

    6 2010.

    7           At this time, PG&E has only been able to extract the relevant data from a little over one-

    8 third of the tapes, although PG&E started restoring its back-up tapes even before the parties had

    9 agreed custodians. PG&E has been backing up the mailboxes of every employee going back to

   10 2010 on virtual tapes, and these mailboxes are distributed in such a way that the back-ups for all

   11   employees must be indexed in order to locate the mailboxes for the 121 agreed custodians. The

   12 process has been significantly slower than expected for two reasons: (1) the volume of data

   13 requiring indexing has been significantly larger due to the distributed manner in which the

   14 company stores email back-ups (requiring indexing of nearly all of the company's back-up tapes);

   15   and (2) the pace at which the company has been able to index this immense volume has been

   16 slower than expected. PG&E and its vendors have been exploring various options to try to address

   17 the second issue (unfortunately nothing can be done with respect to the first). At this time, it does

   18 not appear the chances of success are high.

   19           PG&E therefore believes that it will be substantially complete with document production

   20 by February 15, 2019. Accordingly, PG&E proposes that an appropriate trial date is September 23,

   21   2019.

   22           PG&E proposes that document discovery close March 1, 2019 and that fact depositions be

   23   closed for the September 23, 2019 trial 90 days prior to the trial date. After March 1, 2019,

   24 Plaintiffs will be able to serve additional document discovery only for good cause shown.

   25           PG&E agrees with Plaintiffs that expert disclosure should not follow the schedule and

   26 procedure set forth in the code. Plaintiffs have proposed that expert disclosure take place 80 days

   27 prior to trial, and that supplemental experts be disclosed 60 days before trial, with expert discovery

   28   concluding 25 days prior to trial. PG&E does not believe this is sufficient given the expected

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 18Entered: 07/03/19 18:48:47           Page 19
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 number of experts and the significance of this matter and the expert testimony to the core issues

    2 that will be tried. Accordingly, PG&E proposes that the parties exchange formal expert reports,

    3 rather than just disclosures of expert names and general topics. This approach will minimize

    4 surprise at trial, allowing the parties to streamline the presentation of evidence and present any

    5 motions concerning expert testimony in advance of trial so as to avoid disrupting the trial and

    6 wasting jury time. PG&E proposes that opening reports be exchanged 100 days prior to trial,

    7 supplemental reports be exchanged 70 days prior to trial and all expert depositions be conducted

    8 between 70 days prior to trial and 30 days prior to trial.

    9                  3.      Plaintiff's Response

   10          PG&E has now again extended the deadline for substantial completion of document

   11   discovery. The notion that document discovery would close two weeks later (absent good cause)

   12 makes no sense. Given the pace of productions thus far, it will take longer than two weeks for

   13 PG&E to produce a privilege log, identify which responses to document requests are complete, or

   14 otherwise identify which materials respond to which specific request. There is no sound basis to

   15 cutoff discovery, particularly on documents, any sooner than 90 days before trial.

   16          Expert reports are neither authorized by Code nor necessary here. The expert discovery

   17 statutes (CCP 2034.010 ct seq.) and accompanying declarations provide ample notice of the

   18 substance, basis and anticipated scope of expert testimony. Disclosing experts 80 days prior to

   19 trial addresses any concerns PG&E has outlined above. Written reports do nothing more than

   20 compress the amount of time plaintiffs will have to fairly complete their liability discovery, the

   21   majority of which rests in the hands of PG&E.

   22          H.      Proposed County For Trial

   23                  1.      Plaintiffs' Position

   24          Plaintiffs submit that the San Francisco Superior Court is the appropriate venue for trials in

   25   these cases. This Court is best equipped in terms of resources, and the potential venire is likely to

   26 contain fewer individuals who have personal knowledge or experience with the fires.

   27          As a practical matter, because Napa County (the only other appropriate venue for the Atlas

   28 fire) is relatively small, there will be great difficulty with jury selection. A majority of the county's

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 19Entered: 07/03/19 18:48:47             Page 20
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 residents were negatively affected by the fire and judges and court staff may also have been

    2   negatively affected or have suffered injury or property losses. The difficulty with finding an

    3   impartial jury in Napa County for the Atlas fire could potentially extend the process of jury voir

    4   for a period of weeks. A similar problem arises with relocating any trial of the Tubbs or Redwood

    5   or other Sonoma-based fires to Sonoma County where tens of thousands of potential jurors have

    6   been impacted        and most residents of the county, whether actual victims or not, have been

    7 personally impacted. Victims' friends, neighbors and others have all heard and seen much of the

    8 tragedy. San Francisco is an appropriate venue since it is where the defendant is located, has more

    9 judges, courtrooms and support staff than the other venues, and has the resources to manage

   10 complex litigation such as this.

   11          Whether the matter proceeds in department 304 or whether department 304 manages the

   12   case(s) up to and through case assignment via master calendar or single assignment to a specified

   13 judge upon agreement of the parties is agreeable to Plaintiffs.

   14                   2.        PG&E's Position
                                                                                              10
   15          PG&E believes that the Tubbs Fire trial ought to occur in Sonoma County.            As described

   16   above, there were thousands of homes destroyed in the Tubbs Fire. The overwhelming majority of

   17   those homes were in the Sonoma County. Although there is no dispute that the Tubbs Fire started

   18   in Napa County and Napa County was impacted, the Tubbs Fire was primarily a Sonoma County

   19   event. Sonoma County residents experienced the aftermath of the Tubbs Fire and have watched as

   20 their community has tried to recover from the tragedy over the past year. Sonoma County and its

   21   residents therefore deserve the opportunity to resolve the question ofliability. (Cal. Civ. Proc.

   22   § 395(a) ("if the action is for injury to person or personal property or for death from wrongful act

   23   or negligence" the superior court in either the county where the injury occurs or the injury causing

   24   death is a proper venue).) Contrary to Plaintiffs' assertion, PG&E does not believe that San

   25   Francisco residents' lack of personal knowledge or experience with the North Bay Fires is a

   26
        10
          To the extent the Court agrees with Plaintiffs and not PG&E regarding Plaintiffs' proposal that
   27
        an Atlas Fire case be tried first, PG&E requests that an Atlas Fire bellwether trial be held in Napa
   28   County, which is where the overwhelming majority of the damage occurred.


Case: 19-30088      Doc# 2864-1           Filed: 07/03/19 20Entered: 07/03/19 18:48:47             Page 21
                                           of 30
                        JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 positive attribute.

    2          As PG&E stated at prior conferences, it believes that it would be efficient for the Court to

    3 preside over the trial in either Sonoma or Napa County to the extent that the Court is able and

    4 available to do so. Presiding over the trial in a county other than San Francisco is within this

    5 Court's discretion. (See California Rule of Court 3.541 (b)(2) (coordination trial judge may

    6 "schedule and conduct ... a trial or trials at any site within this state that the judge deems

    7 appropriate"); Keenan v. Superior Court, 111 Cal. App. 3d 336, 341, 343 (1980) ("coordination

    8 judge is not to be constrained by the preexisting law relating to the place of trials" and shall have

    9 "broad discretion to conduct proceedings in various places as may be appropriate").) To the extent

   10 that this Court will not preside over the trial in either Sonoma or Napa County, PG&E requests

   11   that a judge in one of those counties be assigned as the trial judge. PG&E would object to

   12 proceeding with the master calendar or single assignment approach in Department 304.

   13          As this Court recognized, it has the authority to transfer a case to another jurisdiction for

   14 trial. (2/27/2018 Tr. at 29:3-13 ("The Court: If [the Plaintiffs] file here in the first instance   let's

   15 say both Napa County and San Francisco are proper. We could encourage             in the case of the draft

   16 case management order that you're going to provide, we can encourage them to file here in the

   17 first instance, I would think, just to make life easier for everybody and probably to lower costs.

   18 And if they did so, I don't think it would prevent me, for example, from sending the case to Napa

   19 County for a trial if it turns out that's the right thing to do for a wide variety of reasons").)

   20 Plaintiffs' Leadership has already agreed that they would "have no problem" with that. (Id. at

   21   29: 16-23.) The county primarily affected by the Tubbs Fire, Sonoma, is the appropriate venue for

   22 any Tubbs Fire case to be tried, and the Court should transfer the Tubbs Fire bellwether trial

   23   accordingly.

   24                   3.     Plaintiff's Response

   25          An initial trial in either Sonoma or Napa Counties would be far more difficult to complete

   26 on the basis of logistics alone.

   27          There is a practical reason these cases were assigned to San Francisco. The Judicial

   28 Council has determined this Court has the resources to enable the best chances of a trial moving

Case: 19-30088         Doc# 2864-1       Filed: 07/03/19 21Entered: 07/03/19 18:48:47            Page 22
                                           of 30
                        JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 forward on schedule.

    2          Though Plaintiffs are certainly willing to consider subsequent trials in Napa or Sonoma,

    3 there is no good reason to add a layer of complexity by transferring venue for the first trial in these

    4 proceedings.

    5 II.      GENERAL DISCOVERY CUT-OFF

    6          A.      Plaintiffs' Position

    7          Plaintiffs believe a generic overall discovery cut-off is not appropriate at this time.

    8   Liability discovery is continuing and proceeding on several tracks. The facts, evidence and

    9 documents relating to liability discovery are outside of the parties control given governmental

   10 investigations. There cannot be a liability discovery cut off until such time as the relevant facts,

   11   documents and evidence is available, the parties can complete the deposition and fact discovery

   12 relating to each fire and the Court rules on course and scope.

   13          B.      PG&E's Position

   14          As stated above, PG&E proposes that fact document discovery close March 1, 2019 and

   15   that fact depositions be closed for the September 23, 2019 trial 90 days prior to the trial date. As

   16 Plaintiffs stated at the September 21 Case Management Conference, "corporate discovery" (i.e.,

   17   non-fire related discovery) cannot begin until PG&E substantially completes document

   18 production. PG&E therefore believes that there must be a date by which Plaintiffs have to serve all

   19   Requests for Production ( absent good cause) as well as a date by which PG&E must substantially

   20 complete production of documents responsive to those requests. PG&E agrees, of course, that

   21   Plaintiffs may serve additional Requests for Production after that date where they can demonstrate

   22   good cause.

   23          C.      Plaintiffs' Response

   24          It is premature to discuss a liability fact discovery cut off, either generally or specifically as
   25   to one fire. At this stage, PG&E still has not completed document productions responsive to

   26   requests that Plaintiffs propounded on March 12, 2018. Production has been rolling, titrated, and

   27   transmitted in a manner that has confounded Plaintiffs' efforts to understand when various

   28 productions are complete, and which documents are responsive to which requests.

Case: 19-30088        Doc# 2864-1      Filed: 07/03/19 22Entered: 07/03/19 18:48:47              Page 23
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1           Plaintiffs can address specifics at the hearing, including the meet and confer efforts which

    2 have been ongoing and exhaustive. Just last week, Plaintiffs' e-discovery vendor transmitted to

    3 Plaintiffs a letter explaining that the manner, cadence, and composition of PG&E's productions

    4 are so outside the boundaries of industry expectations and norms, that processing these

    5 productions for review has proven to be an unusually challenging and time consuming project.

    6 Plaintiffs have since forwarded this letter to PG&E's counsel for yet a further round of meet and

    7 confer conversations.

    8           While the parties have made some progress in addressing issues with PG&E's document

    9 productions, there is no way PG&E can today provide a reliable date upon which responsive

   10 document productions will be substantially complete, followed by a document request cutoff two

   11   weeks after that date.

   12           Finally, this is a JCCP, not a single case event, involving tens of thousands of plaintiffs.

   13   The evidence is going to advance over time. An all-encompassing liability fact discovery cut off

   14 connected with the first trial makes no sense in the context of a large coordinated action.

   15   III.    PREFERENCE TRIAL SETTING

   16           The parties are negotiating a protocol for preference trial settings.

   17 IV.       PROCEDURES TO REFINE LEGAL ISSUES

   18           A.        Early Instruction Conference

   19           The parties agree that the Court should have an early jury instruction conference once a

   20 case is set for trial.

   21           B.        Summary Judgment or Adjudication, Early In Limine Motions or Motions
                          Under Cal. Code Proc.§ 437(c)t)
   22

   23           The parties also agree that there are certain issues that should be appropriately addressed

   24 through summary judgment or adjudication, early in limine motions or motions under Cal. Code

   25   Proc. § 437(c)(t). Those issues could include, for example:

   26                •    whether punitive damages are available against PG&E;

   27                •    whether fire constitutes a trespass sufficient to trigger double damages pursuant to

   28                     Civil Code Section 3346;

Case: 19-30088           Doc# 2864-1     Filed: 07/03/19 23Entered: 07/03/19 18:48:47            Page 24
                                             of 30
                          JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1                 •    whether any Cal Fire report should be excluded;

    2                 •    whether prior wildfire incidents should be excluded;

    3                 •    whether PG&E's policies or practices that are unrelated to programs at issue with

    4                      respect to the relevant fire should be excluded;

    5                 •    whether evidence concerning PG&E executive compensation and bonuses should

    6                      be excluded; and

    7                 •    whether lay witnesses should be permitted to offer medical opinion testimony.

    8           The parties will continue to meet and confer regarding how issues of inverse condemnation

    9   will be resolved.

   10           The parties do not believe that a bench trial or bifurcated trial on any issues would be

   11   appropriate or efficient. The parties do believe that it would be useful to the Court, to the parties

   12   and, to the extent another judge ultimately tries the bellwether trial, to that judge, to have early

   13   resolution by this Court of critical evidentiary issues.

   14   V.      INDIVIDUAL ISSUES SURROUNDING DIRECT ACTION PLAINTIFFS

   15           CMO 2 states, "The parties agree to have lead plaintiffs' counsel obtain responses from all

   16 plaintiffs to the questions, in effect: (i) if they saw what could have been the ignition of a fire, or

   17   (ii) know of someone who may have done so, or said they did. No verified responses are

   18 required." The plaintiffs provided PG&E both an updated account of plaintiffs' compliance with

   19   CMO 2 and separate witness reports organized by fire.

   20          A.          CMO 2 - Compliance Report

   21           Since the September 17, 2018 Case Management Conference, there have been another 500

   22   plaintiffs coordinated into the JCCP. There are now approximately 3167 individual plaintiffs in

   23   this JCCP. Individual Plaintiffs' leadership have been working with Brown Greer to ensure

   24   compliance and prepare the CMO 2 reports. The plaintiffs have almost 3000 complete responses

   25   (94%), with more than 1000 completed in the last 30 days. The remaining cases fall into several

   26   categories:

   27          New Cases. Because each firm has kept in active communication with Individual

   28   Plaintiffs' liaison, the plaintiffs have been able to update the CMO 2 report with most of the new

Case: 19-30088            Doc# 2864-1     Filed: 07/03/19 24Entered: 07/03/19 18:48:47           Page 25
                                              of 30
                           JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 cases that have come into the JCCP. Obviously, some plaintiffs have not had a sufficient

    2   opportunity to respond. Plaintiffs thus propose to update the CMO 2 reports for new cases every

    3 sixty (60) days.

    4           Cases Involving Entities or Trusts. Obviously, a non-living entity such as a business or a

    5 tmst cannot be a witness to the ignition of a fire.

    6           Cases Identified as Non-Responsive or Incomplete. The plaintiffs' liaisons are working

    7 with the few firms left to complete their responses that have been identified as lacking or

    8 incomplete. Beyond compliance issues, there are some specific issues that we will need to address.

    9 For example, the Franz and Singleton firms have identified a number of individual plaintiffs they

   10 cannot locate and are now missing.

   11           B.      CMO 2 - Plaintiffs as Witnesses

   12           Individual Plaintiffs' leadership has identified plaintiffs who, as of October 15, 2018 claim

   13   to have witnessed a fire's ignition. These are plaintiffs (human beings) who currently have

   14 provided affirmative responses to the questions posed to them about their personal knowledge.

   15   The Plaintiffs' leadership has sorted the individual plaintiffs by fire and has also provided to

   16 PG&E addresses for these plaintiffs as well as the law firm representing these plaintiffs.

   17           As noted again on October l st, only a tiny percentage of individuals who have filed

   18 lawsuits claim to have witnessed ignition of a fire or claim to know someone who claims to have

   19 witnessed a fire's ignition. Plaintiffs are providing to PG&E a supplemental report on addresses.

   20   Also, there are plaintiffs who at first reasonably said "yes" but either the plaintiff initially

   21   misinterpreted the question, the firm did not correctly enter the data, or the plaintiff did not claim

   22 to witness the actual ignition. Plaintiffs are providing that list to PG&E as well.

   23           C.      CMO 2 - Witnesses Identified by Plaintiffs

   24           The Plaintiffs' leadership has also provided a report to PG&E that identifies those

   25   plaintiffs (human beings) who provided affirmative responses with respect to third-party

   26 witnesses. The leadership has sorted the individual plaintiffs who provided affirmative responses

   27 by fire and has also provided to PG&E the addresses for these witnesses and the law firm

   28 representing these plaintiffs. Most of these witnesses are represented by counsel, and Plaintiffs

Case: 19-30088       Doc# 2864-1        Filed: 07/03/19 25Entered: 07/03/19 18:48:47              Page 26
                                           of 30
                        JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 have requested that PG&E not contact these individuals directly. The parties are meeting and

    2   conferring regarding further discovery.

    3          D.      Production of Damage Information

    4                  1.      Plaintiffs' Position

    5          Although case specific individual damage discovery is stayed under CMO 1, the parties

    6   have commenced discussions regarding methods by which Plaintiffs can gather case specific

    7   damage related information and promptly present it to PG&E without overwhelming the

    8   individual plaintiffs with formal case specific discovery. The CMO 2 voluntary process worked

    9   with the assistance of Brown Greer. The first step in this process is for each plaintiff to confirm

   10 through Plaintiffs' leadership the categories of damage claims stated court ordered Notice of

   11   Adoption. The parties will report more on this process at the status conference.

   12                  2.      PG&E's Position

   13          The more than 100 cases that are still out of compliance belong to the Frantz Law Group,

   14 APLC and the Singleton Law Firm. Frantz Law Group has the vast majority of the cases. These

   15   Plaintiffs appear to have either become non-responsive or decided not to pursue their cases. These

   16   cases should be dismissed for failure to prosecute and failure to comply with this Court's Order.

   17          PG&E is working with Plaintiffs' Leadership on the voluntary production of damage

   18   information as set forth above.

   19   VI.    MEDIATION

   20          A.      Individual Plaintiffs

   21          The parties have agreed on the selection of a team of two experienced mediators, Judge

   22   Daniel Weinstein and Robert Meyer, to facilitate mediation of the Individual Plaintiffs' claims.

   23   PG&E and the Individual Plaintiffs are discussing the next steps in the mediation process.

   24          B.      Subrogation Plaintiffs

   25          PG&E and the Subrogation Plaintiffs have agreed to mediation. Retired Judge Vaughn R.

   26   Walker has been proposed to act as a Mediator. PG&E and the Subrogation Plaintiffs are

   27   finalizing the selection of the Mediator and discussing the next steps in the mediation process.

   28

Case: 19-30088      Doc# 2864-1        Filed: 07/03/19 26Entered: 07/03/19 18:48:47            Page 27
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1          C.     Public Entities

    2          PG&E and the Public Entity Plaintiffs are in the process of selecting a mediator.

    3 VII.     CAL FIRE EVIDENCE

    4          Plaintiffs originally filed a motion to compel production of Cal Fire's investigative reports

    5 on August 9, 2018. On August 14, 2018, Plaintiffs' counsel served the Attorney General with

    6 subpoenas to inspect the Cal Fire evidence. When Cal Fire filed its opposition to the motion to

    7 compel on August 22, Cal Fire made several procedural arguments, including that Plaintiffs had

    8 provided insufficient notice due to a confusion in service. Plaintiffs' counsel considered re-

    9 noticing the motion, but the earliest possible hearing date per the Code (and Court availability)

   10 was September 24th. Since the one-year criminal statute of limitations was set to expire on

   11   October 8, 2018, Plaintiffs' counsel decided to reach a compromise with Cal Fire instead.

   12          On August 29, 2018, the Attorney General and Plaintiffs' counsel agreed that Cal Fire

   13 would allow Plaintiffs access to the investigative reports and evidence immediately after October

   14 8, 2018, if no charges were brought by the relevant District Attorney for any county where the

   15 specific fire occurred. As part of that agreement, Cal Fire agreed to extend by 180 days the time

   16 within which Plaintiffs may enforce their subpoenas for the investigative reports and evidence.

   17          On October 4, 2018, Plaintiffs' counsel was informed that PG&E and the District

   18 Attorneys of certain counties including Sonoma, Napa, Mendocino and Lake had entered into

   19 tolling agreement related to potential criminal charges, effectively extending the statute of

   20 limitations by six months.

   21          Plaintiffs' counsel contacted the Attorney General immediately and was informed that he

   22   did not know these agreements had been negotiated. The Attorney General was ultimately

   23   provided with a copy of the tolling agreements.

   24          With this material change in circumstances, Plaintiffs' counsel and the Attorney General

   25   started new negotiations which have been ongoing since October 4, 2018, including many layers

   26   of involved bureaucracy.

   27          On October 12th, Plaintiffs' counsel and the Attorney General agreed to the following:

   28

Case: 19-30088      Doc# 2864-1       Filed: 07/03/19 27Entered: 07/03/19 18:48:47            Page 28
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1           1.     Cal Fire will produce the investigative reports and evidence from the unreferred
                       (ires and any fire that has been resolved through a settlement (e.g., the Honey Fire).
    2                  The evidence will be turned over to all parties in this case pursuant to a stipulation
                       related to the storage location and a protocol. PG&E has also agreed to enter into
    3
                       this stipulation with Plaintiffs.
    4
               2.      Cal Fire is currently working to provide deposition dates for the investigators of the
    5                  unreferred fires. The Attorney General represented to Plaintiffs' counsel that he
                       expects there to be depositions going forward in late October and early November.
    6
               3.      Cal Fire will not block any evidence inspections or disclosure of reports related to
    7
                       referred fires if PG&E and Plaintiffs enter into agreements with the District
    8                  Attorneys for this to happen. PG&E and Plaintiffs are currently working to contact
                       the District Attorneys and negotiate an agreement with the following terms: (1) a
    9                  nondestructive inspection with both the District Attorneys and Cal Fire present; and
                       (2) production of the investigative reports pursuant to the protective order entered
   10                  in this case and under a highly confidential designation.
   11

   12
                If Plaintiffs and PG&E cannot reach an agreement with the District Attorneys related to the
   13
        reports and/or evidence for the unreferred fires, then the parties intend to file a joint motion to
   14
        compel.
   15

   16
        Dated: October 22, 2018                   WALKUP, MELODIA, KELLY & SCHOENBERGER
   17

   18

   19                                             By:          Isl Michael A. Kelly
                                                        MICHAEL A KELLY
   20                                                   Attorneys for Individual Plaintiffs
   21
        Dated: October 22, 2018                   BERGER KAHN
   22

   23
                                                  By:          Isl Craig Simon
   24
                                                        CRAIG SIMON
   25                                                   Attorneys for Subrogation Plaintiffs

   26

   27

   28

Case: 19-30088       Doc# 2864-1       Filed: 07/03/19 28Entered: 07/03/19 18:48:47              Page 29
                                          of 30
                       JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
    1 Dated: October 22, 2018             BARON & BUDD

    2

    3
                                          By:         Isl Scott Summy
    4                                           SCOTT SUMMY (admitted pro hac vice)
                                                Attorneys for Public Entity Plaintiffs
    5
        Dated: October 22, 2018           CRAVATH, SWAINE & MOORE LLP
    6

    7

    8                                     By:          Isl Kevin J Orsini
                                                KEVIN J. ORSINI
    9                                           Attorneys for Defendants Pacific Gas & Electric
   10                                           Company and PG&E Corporation

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

Case: 19-30088     Doc# 2864-1    Filed: 07/03/19 29Entered: 07/03/19 18:48:47       Page 30
                                         of 30
                      JOINT CASE MANAGEMENT CONFERENCE ST ATEMENT JCCP No. 4955
